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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )
                                                )
RICHARD W. GATES III,                           )            Crim. No. 17-201-2 (ABJ)
                                                )
               Defendant.                       )


    DEFENDANT RICHARD W. GATES III’S MOTION TO MODIFY RELEASE
  CONDITIONS FOR LIMITED PURPOSES TO ATTEND SCHOOL SPONSORED
STUDENT-PARENT WORK EVENT, YOUTH COACHING EVENT, AND UPDATE ON
    STATUS OF BAIL PACKAGE DISCUSSIONS WITH THE UNITED STATES
       Richard W. Gates III, by and through counsel, hereby moves this Court for modification

of his release conditions for limited purposes so that he may participate in two family-related

events this weekend. The first is a school sponsored parent event for which he committed to

work as a volunteer several months ago. This event will take place on Saturday, December 9,

2017, at a location in Richmond, Virginia, one mile from Mr. Gates’s residence, from 8:00 a.m.

until 9:30 a.m. The second event is the first youth sporting event in which Mr. Gates is the coach

of the team. The team will be participating at an event held at a church in Richmond, Virginia,

four and a half miles from Mr. Gates’s residence. This event will take place on Sunday,

December 10, 2017, from 2:00 p.m. -3:30 p.m. Mr. Gates requests a limited release to attend

these two events both occurring less than five miles from his house and for periods of less than

two hours respectively. If this Court permits this limited release, Mr. Gates will promptly

provide Pre-Trial Services with specific information about the events, including the times and

locations and continue to comply fully with his release conditions, including his GPS

monitoring.
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       Mr. Gates, through counsel, also seeks to update this Court as to the progress of

discussions with the United States about reaching a jointly agreed upon bail package to present

to this Court. This past week, the defense has presented the Office of Special Counsel (“SCO”)

with two individuals who are willing to pledge real property towards securing Mr. Gates’s bail in

addition to potential pledges of real property that Mr. Gates has previously provided with details

described further below. Both individuals have been interviewed telephonically by the SCO

respectively on Monday, December 4, 2017, and Wednesday, December 6, 2017. Counsel for

Mr. Gates will present the specifics of these pledges and the identities of the pledgors under seal

for this Court’s consideration when counsel files the full bail package for the court’s

consideration following its discussions with the SCO. In the meantime, counsel has requested

that the SCO not divulge publicly the names of these individuals out of respect for their privacy

while the SCO considers their pledges. With the addition of these two potential pledgors to Mr.

Gates’s bail package proposal to the SCO, the total value of Mr. Gates’s bail proposal will total

in excess of his $5 million unsecured bond. Counsel gave the SCO by hand a written proposal of

the bail package on Wednesday, December 6, 2017, during a face-to-face meeting and also

transmitted same by electronic mail.

       It continues to be the goal of counsel to seek agreement on a bail package before

presenting it to the Court and counsel believes good progress has been made especially this week

with the SCO having interviewed two potential pledgors of real property. Counsel understands

that this Court cannot make any major modifications to Mr. Gates’s bail conditions beyond

temporary limited ones without a bail package having been presented for the court’s

consideration. However, counsel submits this update to correct any misimpression that counsel

for Mr. Gates has not diligently worked towards a jointly agreeable bail package.



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       Particularly in need of clarification and correction is the SCO’s assertion made in its

pleading filed on December 1, 2017 (ECF #68). In that pleading, the SCO represents to this

Court that: that “the defendant has even failed to make available for inspection by the

government . . . the paperwork with respect to his residence.” In fact, the SCO has been in

receipt of the real estate appraisal for Defendant’s home since November 14, 2017, at 7:50 p.m.

(the appraisal was emailed to SCO attorney Greg Andres at that time and date). Similarly, as set

forth in Mr. Gates’s pleading filed on November 16, 2017 (ECF #49), the SCO has been in

possession of the contact information for the mortgage company holding the note on Mr. Gates’s

residence as previously requested by the SCO as well as a letter authorizing that mortgage

company to speak with the SCO since November 8, 2017, and November 7, 2017, respectively.

Also on November 14, 2017, at 7:50 p.m., the SCO was given account information for Mr.

Gates’s retirement accounts that he sought to make part of his bail package. Counsel for Mr.

Gates believes it has worked in good faith with the SCO to provide the requested information in

order to jointly finalize an acceptable bail package for Mr. Gates that it can then present to the

court for consideration.

       Counsel for Mr. Gates conferred with the United States prior to the filing of this motion

and the United States opposes Mr. Gates’s request.




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       WHEREFORE, Mr. Gates hereby respectfully moves this Court to modify his release

conditions for limited purposes so that he can participate in a school sponsored parent-student

event and fulfill his coaching duties at a youth sports event.



                                              Respectfully submitted,


                                              _/s/Shanlon Wu_______________
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